



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE. IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        The State, Respondent
        v.
        Kerry Nolan Grant, Appellant
      
    
  


Appeal from Aiken County
Thomas A. Russo, Circuit Court Judge

Unpublished Opinion No. 2009-UP-026
Submitted January 1, 2009  Filed January 13, 2009

APPEAL DISMISSED


  
    
      
        Appellate
          Defender Robert M. Pachak, of Columbia, for Appellant.
        Attorney
          General Henry Dargan McMaster, Chief Deputy Attorney General John W. McIntosh,
          Assistant Deputy Attorney General Salley W. Elliott, all of Columbia; and
          Solicitor Barbara R. Morgan, of Aiken, for Respondent.
      
    
  

PER CURIAM: Grant,
  appeals his convictions for grand larceny, burglary in the second degree, and two
  counts of ill treatment toward animals. He argues the trial court erred in
  denying his motion for a directed verdict where there was insufficient evidence
  of guilt. After a thorough review of the record and counsels brief pursuant to Anders v. California, 386 U.S. 738 (1967), and State v. Williams,
  305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss Grants appeal and grant
  counsels motion to be relieved.[1]
APPEAL
  DISMISSED.
Huff, Thomas, and Lockemy, JJ., concur.


[1] We decide this case without oral argument pursuant to
Rule 215, SCACR.

